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VVP Advisors, Inc.

Plaintiff,
VS.
Kathy Baran, et al.

Defendants.

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No.: SACV 19-919-AG- (KESx)

MEMORANDUM OF POINTS AND
AUTHORITIES IN SUPPORT OF
PLAINTIFF’S MOTION FOR
SUMMARY JUDGEMENT
PURSUANT TO FED. R. CIV. P. 56

Hon. Andrew J. Guilford

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I. INTRODUCTION
Plaintiff VVP Advisors, Inc. (“VVPA”), pursuant to Fed. R. Civ. P. 56 and L.R.

56-1, hereby move this Court for summary judgment in this Administrative
Procedure Act case challenging the validity of the Government’s March 12, 2019
final agency decision denying Dr. Xinhong Lim an H-1B visa to work as a
Biotechnical Investment Analyst for VVPA. Plaintiff seeks declaratory judgment
that the March 12, 2019 final agency action must be set aside and an order from
this Court directing the Government to issue Dr. Lim an H-1B visa immediately.
This action seeks relief against Kathy A. Baran, Director of the California
Service Center, U.S. Citizenship and Immigration Services (“USCIS”), U.S.
Department of Homeland Security (“DHS”); Kenneth T. Cuccinelli, Acting
Director, USCIS; Kevin McAleenan, Acting Secretary, DHS; USCIS; and DHS
(collectively “the Government” or “Defendants”) under the Administrative
Procedure Act (“APA”), 5 U.S.C. §702, based on the Government’s improper
March 12, 2019 denial of Form I-129, otherwise known as an H-1B visa petition,
filed by VVPA on behalf of Dr. Lim. The Government denied the H-1B petition on
the sole ground that the Biotechnical Investment Analyst position, as described by
VVPA, is better classified as a financial analyst or computer systems analyst rather
than as a Biological Scientist, All Other classification. In light of the extensive
evidence submitted by VVPA in support of the H-1B petition and the
fundamentally flawed analysis in the Government’s March 12, 2019 denial, the
denial was “arbitrary, capricious, an abuse of discretion, or otherwise not in
accordance with law.” Plaintiff VVPA requests that the Court hold unlawful and
set aside the March 12, 2019 denial of Dr. Lim’s H-1B petition, order the
Government to issue the “unlawfully withheld” H-1B visa immediately, and grant
other appropriate declaratory and injunctive relief. See Residential Finance Corp.
v. US. Citizenship and Immigration Services, 839 F.Supp.2d, 994-97 (S.D. Ohio

2011) (“Defendant failed to examine all of the correct relevant data and to

 

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articulate an untainted, satisfactory explanation for the denial that rationally
connected the facts to the decision. The denial of the petition here was thus
arbitrary, capricious, and an abuse of discretion.”)

Il. PARTIES AND H-1B LEGAL FRAMEWORK

A. Plaintiff and Dr. Xinhong Lim

Plaintiff VVP Advisors, Inc. (“VVPA”), is a Delaware corporation with
offices in New York and San Francisco. (SF 1.) VWVPA is wholly owned by
Vickers Venture Partners, a venture capital firm based in Singapore. (SF 1.) The
firm’s portfolio encompasses life sciences, technology, media and
telecommunications as well as consumer and financial services. (SF 2.) The firm’s
more recent focus has been on biotechnology, nanotechnology and artificial
intelligence with biotechnology being the best-performing sector in their portfolio.
(SF 3.) In order to tap into the large volume of deal flow in the Silicon Valley area,
VVPA has set up an office in San Francisco. (SF 2.)

Vickers Venture Partners’ total fund size at the time of the original filing and
as stated in original filing was $363.5 million. (SF 4.) FintechNews Malaysia
stated “Vickers Venture Partners recently raised South Asia’s largest non-
government linked V.C. fund- a $230 million fund (fund V).” (SF 5.) TODAY
online wrote “Vickers Venture Partners closed its fifth fund of $230 million in
October 2017. They are looking to raise its largest fund $500 million later this
year as it seeks to increase investment in biotechnology, nanotechnology, and
artificial intelligence.” (SF 6.)

Dr. Xinhong Lim obtained his Bachelor’s in Science Degree in Natural
Science-Biochemistry from University of Wisconsin-Madison in 2006 and his PhD
in Developmental Biology from Stanford University in 2013. (SF 7.) Dr. Lim
began working for Vickers Venture Partners in Singapore in 2015 as a biotechnical
investment analyst and venture principal. (SF 8.) In an attempt to expand Vickers

Venture Partners’ investment portfolio in U.S. based companies, VVPA was

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incorporated in Delaware in 2016. (SF 1.) VVPA opened offices in New York and
San Francisco. (SF 2.) In April 2018, VVPA filed the H-1B petition at the heart of
this litigation. (SF 9.) Due to USCIS delays in processing Dr. Lim’s H-1B
petition, VVPA applied for an H1B1 visa at the Singapore consulate, and it was
approved in November 2018. (SF 10.) The standard for the H1B1 and the H-1B are
identical. (SF 11.) The H1B1 is essentially an H1B visa that is only available to
Singaporean and Chilean nationals. (SF 12.) The U.S. consulate in Singapore did
not hesitate to find that Dr. Lim’s position as a biotechnical investment analyst
qualified as a specialty occupation under the H-1B/H1B1 standard. (SF 13.)
Although the H-1B and H1B1 standards for approval are identical, the H-1B is
more desirable because it can be granted in three year increments (versus one year
increments for the H1B1) and the H-1B allows the alien to pursue a permanent
residency due to the dual intent doctrine (the H1B1 does not allow for dual intent).
(SF 14.)
B. The Government Defendants

The Defendants in this case, all government officials sued in their official
capacity or the federal agencies involved, are each responsible for the March 12,
2019 final agency decision denying an H-1B visa filed by VVPA on behalf of Dr.
Lim.

C. Legal Framework for Granting H-1B Visas

An H-1B visa allows a foreign national to be admitted temporarily to the
United States to work in a “specialty occupation,” which is defined as an
occupation that requires “theoretical and practical application of a body of highly
specialized knowledge” and “attainment of a bachelor’s or higher degree in a

specific specialty (or its equivalent) as a minimum for entry into the occupation in

the United States.” 8 U.S.C. §1184(4)(1).

 

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Pursuant to regulations implementing the INA, a position must be found to
meet one of the following four mutually independent criteria to qualify as an H-1B
specialty occupation:

(1)A baccalaureate or higher degree or its equivalent is normally the
minimum requirement for entry into the particular position;

(2) The degree requirement is common to the industry in parallel positions
among similar organizations or, in the alternative, an employer may show
that its particular position is so complex or unique that it can be
performed only by an individual with a degree;

(3) The employer normally requires a degree or its equivalent for the
position; or

(4) The nature of the specific duties are so specialized and complex that
knowledge required to perform the duties is usually associated with the

attainment of a baccalaureate or higher degree.

8 C.F.R. §214.2(h)(4)Gii)(A).
Il. STATEMENT OF FACTS

A. Plaintiffs file form I-129 Petition Seeking H-1B Status

On April 2, 2018, VVP Advisors, Inc. (““VVPA”) filed a Petition for
Nonimmigrant Worker (Form I-129) on behalf of Dr. Xinhong Lim, a citizen of
Singapore. (SF 15.) In support of its petition, VVPA supplied a Labor Condition
Application (“LCA”) certified by the U.S. Department of Labor for the position of
Biotechnical Investment Analyst (SF 16.); copies of Dr. Lim’s Bachelor’s Degree
in Natural Sciences-Biochemistry from University of Wisconsin-Madison and his
PhD in Developmental Biology from Stanford University (SF 17.); background
information on Vickers Venture Partners, the Singapore based parent company of
VVPA, showing the overall fund size as $593.5 million (SF 18.); and a letter from
Joanna Goh, the legal counsel and HR Director for VVPA. (SF 19.)

The Joanna Goh letter established that VVPA wished to offer Dr. Lim a
position as a Biotechnical Investment Analyst. (SF 19.) She stated that Dr. Lim’s

 

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primary responsibility will be to “help source, evaluate, and negotiate international
investments with a particular focus on the Biotechnology, educational, and medical
Technology sectors.” (SF 19.) She stated that his salary would be $250,000. She
offered a detailed description of his six primary job duties:

(1) Formulation of Investment Strategy (5% of time)

(2) Identification and Detailed Evaluation of Investment Opportunities (30%

of time)

(3)Negotiation of Terms for a New Investment and Exits (15% of time)

(4) Ongoing Support of Portfolio Companies (30% of time)

(5)Raising Money for VVPA and Portfolio Companies (10% of time)

(6) Managing Projects and Teams (10% of time)

(SF 19.)
The Joanna Goh letter expanded on each of the six job duties and explained

how Dr. Lim would be using his PhD to perform the job duties. Ms. Goh stated
that Dr. Lim helped formulate VVPA’s investment strategy to focus on Deep Tech
companies and his PhD training helps him conduct “research and due diligence to
validate the investment hypothesis and determine potential financial return.” (SF
19.) As part of his second job duty, she explained that he would provide “detailed
analysis of the tech and science” of the target company. (SF 19.) He will “prepare a
company specific and thematic research report.” (SF 19.) As part of his fourth
duty, she explained that he “will support the key Biotech portfolio companies” and
that “Dr. Lim’s expertise in Wnt signaling gained from his PhD and subsequent
research work make him uniquely qualified to understand Samumed’s [one of the
key biotech portfolio companies] science and support commercialization
activities.” (SF 19.) “Dr. Lim’s expertise in skin biology and drug development
enable him to authoritatively advise and support Sisaf’s commercial efforts.” (SF
19.) As part of his fifth job duty, “Dr. Lim will leverage his scientific and applied

business training to understand the technology/science/product and synthesize it
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with other criteria to make a compelling pitch to other investors.” (SF 19.) In order
to perform any of these job duties, the employee must have a strong scientific
educational background. Without such an education, an individual would not be
able to assess a target company’s science or technology, or how to support such a
start-up as it attempts to commercialize the science/technology, or how to explain
to other investors why the target company is a potentially valuable investment. A

financial analyst or computer systems analyst cannot perform these job duties.
B. Government issues a request for evidence and Plaintiff's response

On July 18, 2018, the Government issued a request for evidence. (SF 20.)
The request for evidence asked for documents regarding several aspects of the
employer and beneficiary including the worksite in San Francisco and the
employer’s number of employees and payroll records; however, none of these
issues were raised in the Government’s denial. (SF 20.) The single issue raised in
the request for evidence that was ultimately the basis of the March 12, 2019 denial
was whether the biotechnical investment analyst position qualified as a specialty
occupation. (SF 20.) Although the initial H-1B filing included over one page of
detailed explanation of the six job duties the request for evidence asked for “a
detailed statement to explain the beneficiary’s proposed duties and responsibilities;
indicate the percentage of time devoted to each duty; and state the educational
requirements for these duties.” (SF 20.) It is important to note that Joanna Goh’s
original letter provided all of these things already: she provided a detailed job
description including explanation of how Dr. Lim would use his science-based PhD}
to perform the duty and a percentage of time he would spend for each duty. (SF
19.)

The request for evidence also asked for sample work product from Dr. Lim
such as reports, presentations, evaluations, designs or blueprints. (SF 20.) The
request asked for job postings or advertisements showing a degree requirement is

common to the industry in parallel positions among similar organizations. (SF 20.)

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VVPA provided a response in October 2018. (SF 21.) Because the
Government was apparently unsatisfied with Ms. Goh’s previous one page
statement of the job duties outlined in the initial H-1B filing, VVPA provided a
four page statement that provided further detail on each of the six job duties. It is
important to note that, despite the Government assertion in its final denial, the six
job duties for the biotechnical investment analyst position did not change. In
Joanna Goh’s second letter dated October 5, 2018 (SF 22), she expanded on the
previous description and provided much more detail as to each of the six job duties
— his overall process for completing each duty and how his science-based PhD
training is necessary to complete each duty. (SF 22.)

VVPA also provided sample work product from Dr. Lim including due
diligence reports of two target companies, Sisaf and Atomwise. (SF 23,24.)

The due diligence report of Sisaf includes a detailed analysis of the
“technical and scientific assets” of the company. (SF 23.) Dr. Lim, along with a
colleague, performed an on-site and in-person assessment of the Sisaf technology,
scientific studies and data and interacted with the company’s leaders in order to
evaluate whether the scientific claims made by the company seem supported by the
data. Dr. Lim summarized the claims in the report and concluded that Sisaf’s wide-
ranging technology claims seem supported by the data and appear promising. (SF
23.)

The due diligence report prepared by Dr. Lim for target company Atomwise
also makes clear that the Biotechnical Investment Analyst position cannot be
performed by someone without an advanced education in biological science. (SF
24.) Using his PhD level knowledge of drug delivery platforms, Dr. Lim assessed
Atomwise’s science and technology and compared it to the state of the art/market

and Atomwise’s competitors to conclude that the company is a worthwhile

investment target. (SF 24.)

 

 
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In its denial decision, the Government failed to mention or even
acknowledge any of this work product by Dr. Lim. (SF 25.)

VVPA also provided twelve job postings for “parallel” positions at similar
biotech venture capital firms. Although some of these positions are more junior to
Dr. Lim’s position, a cursory review of the postings show that even the intern
positions require an MD or PhD (biology, biochemistry, genetics, physiology,
chemistry) level of education. (SF 26.) Many of these firms title their positions
differently, but the job duties are similar to Dr. Lim’s biotechnical investment
analyst, and all of them require advanced degrees in some form of science
depending on the firm’s specific investment focus.

Northpond Ventures is a “science driven venture capital firm in Bethesda,
Maryland” looking for a “Life Sciences Venture Associate/Senior Associate” and a
“Life Sciences Venture Principal.” (SF 26 at A.R. 305-306.) The postings state that
“a PhD in Biochemistry, Molecular Biology or Bioengineering from a leading
academic program is a requirement for applicants.” (SF 26 at A.R. 305-306.) The
job duties are identical to Dr. Lim’s duties. (SF 19, SF 26 at A.R. 305-306.)

Bay City Capital is “a life sciences investment firm” in San Francisco
looking for an “Associate, Venture Capital.” (SF 26 at A.R. at 307.) The job duties
are identical to Dr. Lim’s duties, and the company requires a “MD and/or PhD
with strong scientific/clinical knowledge and ability to link science to business.”
(SF 19, SF 26 at A.R. 307.) JMP is a San Francisco-based investment bank
looking for an “Equity Research Associate — Healthcare & Biotechnology.” (SF 26
at A.R. 315.) The job duties are very similar to Dr. Lim’s duties and the company
prefers an “MD or PhD in life science related field.” (SF 19, SF 26 at A.R. 315.)

UBS is a New York based investment bank looking for an “Equity Research
Associate — Biotech & Pharma.” (SF 26 at A.R. 317.) The job duties are similar to
Dr. Lim’s duties and UBS requires an “advanced degree in life sciences (MD, PhD

or Masters).” (SF 19, SF 26 at A.R. 317.)

 

 
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Although the request for evidence specifically asked for job postings from
similar positions with industry competitors, and VVPA provided twelve sample job
postings, the denial did not mention or even acknowledge this evidence. (SF 25.)

C. Government denies the H-1B petition on superficial and

unsupported grounds

On March 12, 2019, the Government issued a denial decision. (SF 25.)
Although the Labor Condition Application filed by VVPA with the Department of
Labor clearly states that the specialty occupation being applied for is a
Biotechnical Investment Analyst, the Government’s denial repeatedly refers to the
job title as Biological Scientist — “You filed the petition to secure the beneficiary’s
services as Biological Scientist.” (SF 25.) The USCIS officer clearly confused the
job title with the SOC classification from the Occupation Outlook Handbook.

Ultimately, the USCIS officer stated that the job duties provided by VVPA
align more with a financial analyst or computer systems analyst and that Dr. Lim
does not have the educational background to qualify as either of these
professions.(SF 25) There is no mention in the denial decision of Dr. Lim’s work
product and no assessment of how the work product resembles that of a financial
analyst or computer systems analyst. (SF 25) There is no discussion of the twelve
job postings for parallel positions from similar organizations and how all of them
require an advanced degree in science or an MD as minimum requirements.(SF 25)
IV. Argument

Plaintiff moves for summary judgment in this Administrative Procedure Act
case, seeking a Court order setting aside the Government’s final agency decision
pursuant to 5 U.S.C. § 706 and remand this matter to Defendants with instructions
that, Defendants approve the Form I-129 Petition.

A. Combined Summary Judgment and APA Standard of Review

Under Federal Rule of Civil Procedure 56(c), summary judgment is

appropriate when the pleadings and the evidence demonstrate that “there

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is no genuine issue as to any material fact and that the moving party is
entitled to judgment as a matter of law.” In a case involving review of a
final agency action under the Administrative Procedures Act, 5 U.S.C. §
706, however, the standard set forth in Rule 56(c) does not apply
because of the limited role of a court in reviewing the administrative
record. See N.C. Fisheries Ass’n v. Gutierrez, 518 F.Supp.2d 62, 79
(D.D.C. 2007).
Hospital of University of Pennsylvania v. Sebelius, 847 F.Supp.2d 125, 133
(D.D.C. 2012).

The APA allows for judicial review of an agency action and provides
that the reviewing court shall “hold unlawful and set aside agency
action, findings, and conclusions found to be . . . arbitrary, capricious, an
abuse of discretion, or otherwise not in accordance with law... .” 5
U.S.C. § 706(2)(A). ...

“In order for an agency decision to be upheld under the arbitrary and
capricious standard, a court must find that evidence before the agency
provided a rational and ample basis for its decision.” Jd. All that is
required is a rational connection between the facts found and the
conclusions made by the agency. Friends of Santa Clara River v. U.S.
Army Corps of Engineers, 887 F.3d 906, 920 (9" Cir. 2018).
Accordingly, an agency’s decision will not be vacated unless the agency
relied on factors Congress did not intend for the agency to consider,
entirely failed to consider an important aspect of the problem, offered an
explanation for its decision that is counter to the evidence presented, or
provided an explanation that is so implausible that it cannot be ascribed

to a difference in viewpoints or as the product of the agency’s expertise.

Id. at 921.

 

 
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Although courts routinely resolve APA challenges to an agency’s

administrative decision by summary judgment, courts do not follow the

traditional analysis to determine whether a genuine issue of material fact

exists, because “there are no disputed facts that the district court must

resolve.” Occidental Eng’g Co. v. LN.S. , 753 F.2d 766, 769 (9" Cir.

1985). Rather, “the function of the district court is to determine whether

or not as a matter of law the evidence in the administrative record

permitted the agency to make the decision it did.” /d. The court’s review

is limited to the administrative record, to which both sides have

stipulated. Nw. Motorcycle Ass’n, 18 F.3d at 1472.
Innova Sols., Inc. v. Baran, 338 F.Supp.3d 1009, 1016 (N.D. Cal. 2018).

B. The Government erred as a matter of law when it failed to
correctly apply a preponderance of the evidence standard
The Government fundamentally failed to apply a “preponderance of the

evidence” standard to its decision denying VVPA the visa. The only evidence in
the Administrative Record is evidence submitted by Plaintiffs. The Government
did not submit any evidence. Because only VVPA submitted evidence and there
was no Government evidence to contradict any of VVPA’s evidence, it is difficult
to fathom how the Government could have denied VVPA’s visa petition without
running afoul of the APA. According to the Government’s own administrative case

law and internal policy guidance’, the applicable burden of proof should have been

 

' The Government’s own internal policy guidance states: “The standard of proof
applied in most administrative immigration proceedings is the ‘preponderance of
the evidence’ standard. Thus, even if the director has some doubt as to the truth, if
the petitioner submits relevant, probative, and credible evidence that leads the
director to believe that the claim is ‘probably true’ or ‘more likely than not,’ the
applicant or petitioner has satisfied the standard of proof. If the director can
articulate a material doubt, it is appropriate for the director to either request
additional evidence or, if that doubt leads the director to believe that the claim is

probably not true, deny the application or petition.”
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a preponderance of the evidence.” Matter of Chawathe, 25 I&N 369 (AAO 2010);
Matter of Pazandeh, 19 I&N 884 (BIA 1989); Matter of Patel, 18 I&N 774 (BIA
1988); see also 5 U.S.C. § 556(d) (“Except as otherwise provided by statute, the
proponent of a rule or order has the burden of proof.”) The Government only made
cursory references in the introductory portions of the decision, without citing any
legal authority, that “based on a preponderance of the evidence, the petition will be
denied for the reasons discussed below.” (SF 25.)

The preponderance of the evidence clearly shows that the biotechnical
investment analyst position at VVPA is best categorized as a Biological Scientist,
All Other. The job duties as expressed in Joanna Goh’s two letters show that only
an individual with a strong and advanced science-based education could perform
this job. (SF 19, 22.) The evidence of twelve job postings from similar
organizations for parallel positions likewise show that all of the industry
competitors require at least a bachelor’s degree in some form of science, whether it
be Life Sciences, Biochemistry, Molecular Biology or Bioengineering, depending
on the specific focus of the venture capital firm or investment bank. (SF 26.) The
evidence also included work product from Dr. Lim showing his scientific
assessment of two target companies and his explanation of why the company’s
science and technology showed enough potential to warrant investment. (SF 23,
24.) The only evidence that the Government considered was the job duties stated
by Joanna Goh, and even there, the government cherry-picked portions of
sentences to fit their narrative that Dr. Lim was actually a financial analyst or
computer systems analyst. (SF 25) The Government failed to consider Dr. Lim’s
work product and failed to address the twelve job postings for positions parallel to
Dr. Lim’s. (SF 25) While there is no doubt that Dr. Lim’s Biotechnical Investment
Analyst position involves some level of financial and economic assessment of a
target company, all of that financial evaluation is done through the lens of whether

the company’s science is legitimate and backed by scientific data. (SF 23, 24)

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While a typical financial analyst might review real estate opportunities,
comparable sales and other financial data to evaluate whether an investment
opportunity is worthwhile, the biotechnical investment analyst must evaluate the
scientific data and technological claims of the company to ascertain whether the
company is legitimate or the next Theranos.

In the denial decision, the Government did not explain the preponderance of
the evidence standard or analyze how the evidence provided by VVPA allegedly
failed to meet that standard. (Sf 25) In fact, the Government ignored most of the
evidence tending to show that the biotechnical investment analyst position was a
specialty occupation requiring “theoretical and practical application of a body of
highly specialized knowledge” and “attainment of a bachelor’s degree or higher
degree in a specific specialty (or its equivalent) as a minimum for entry into the
occupation in the United States.” The twelve job postings clearly show that similar
positions with nearly identical job duties at other industry players normally require
an MD or PhD in a specific science, but all of them require at least a bachelor’s
degree. (SF 26.) Even the intern positions at some require more than a bachelor’s
degree. (SF 26 at A.R. 308.) The Government failed to explain how this evidence
failed the preponderance of evidence standard.

If the Biotechnical Investment Analyst position is truly more akin to a
financial analyst or computer systems analyst, and the preponderance of the
evidence supports this finding, the Government should have explained how the
twelve job postings support their finding. The Government should have explained
how the work product from Dr. Lim supports their conclusion. Without
considering all the evidence, it is impossible for the Government to argue that
“evidence before the agency provided a rational and ample basis for its decision.”
Nw. Motorcycle Ass’n v. Dep’t of Agriculture, 18 F.3d 1468, 1471 (9" Cir. 1994)
Under the Ninth Circuit’s test from Friends of Santa Clara River, supra, “an

agency’s decision will not be vacated unless the agency . . . offered an explanation

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for its decision that is counter to the evidence presented .. . .” 887 F.3d 906, 921
(9"" Cir. 2018). That is the case here. Not only did the Government fail to apply the
preponderance of evidence standard when it ignored large swaths of evidence, the
Government’s decision was based on manipulative editing of Joanna’s Goh’s job
duty statements and was completely “counter to the evidence presented.”

C. The Government’s Repeated Cherry-Picking of Fragments of
Sentences In Order To Mischaracterize the Job Duties of the
Biotechnical Investment Analyst Position Was Arbitrary and
Capricious

Throughout the March 12, 2019 Denial, the Government cherry-picks
sentence fragments, mischaracterizes stated job duties and ignores large swaths of
stated job duties in order to conclude that Dr. Lim’s biotechnical investment
analyst position is primarily a finance or computer systems based position.

i. The Government Erred When It Ignored Joanna Goh’s
Overarching Job Description of the Biotechnical Investment
Analyst Position

In VVPA’s original H-1B filing the company included a letter from Joanna
Goh, VVPA’s Legal Counsel and HR Director, stating that the biotechnical
investment analyst’s main function was to “source, evaluate, and negotiate
international investments, with particular focus on the Biotechnology, Medical,
and Educational Technology sectors.” (SF 19.)

In the March 12, 2019 Denial, the Government ignored the “source” and
“evaluate” aspects and restated the position’s primary job duty as “Negotiate
international investments with particular focus on the Biotechnology, Medical, and
Educational Technology sectors.” (SF 25.) This is just the first example of the
Government cherry-picking portions of sentences in order to fit their narrative that

the biotechnical investment analyst is better classified as a financial analyst or

computer systems analyst.

 

 

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The sourcing and evaluating investment opportunities in biotechnology,
medical and educational technology sectors accounts for 30% of Dr. Lim’s time.
(SF 19.) Along with supporting portfolio companies (another 30%), this is the most
important job duty he has. (SF 19.) He is expected to seek out biotech investment
opportunities with start-up companies and evaluate whether their scientific data
and technology are worthwhile and potentially profitable enough for VVPA to
pursue investment. In contrast, the negotiating of the actual investment only
occupies 15 % of Dr. Lim’s time and this job duty is shared with legal counsel and
the rest of Vickers Venture Partners. By ignoring the “source” and “evaluate”
language, the Government makes it seem like Dr. Lim’s role is primarily to
negotiate investments which is obviously more of a legal or business-related task.
This convenient cherry-picking of language by the Government occurs numerous
times throughout the denial decision with the clear intent of trying to fit a narrative
that Dr. Lim’s biotechnical investment analyst position is not properly classified as
a Biological Scientist, All Other.

il. The Government Erred When It Repeatedly Referred to the
Position as a Biological Scientist And Never Once
Acknowledged The Job Title As Biotechnical Investment
Analyst

Not once in the denial decision does The Government acknowledge that the
job title is Biotechnical Investment Analyst. (SF 25) The Government repeatedly
confuses the SOC classification of Biological Scientist, All Other with the job title.
It is unclear whether the Government does not understand the difference between
the SOC classification and the job title or whether this was done in bad faith.

As a required preliminary step in the H-1B filing process, an employer must
file an ETA 9035 labor condition application (“LCA”) with the Department of
Labor. On the LCA, the employer must state the job title for the desired position.
The employer must also classify the position using one of the O*NET SOC

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classifications. (SF 16.) Some job titles, many of which have been in existence for
many decades, have exact SOC classifications — accountant (SOC 13-2011.01),
lawyer (SOC 23-1011.00), and financial analyst (SOC 13.2051.00). However,
other job titles, especially positions that are relatively newer, do not have exact
matches in the SOC classifications. In these situations, it is not uncommon to
choose the SOC classification that most closely fits the job and its duties.

In this case, there is no exact SOC classification for biotechnical investment
analyst. As the job duties, Dr. Lim’s work product, and the twelve job postings for
parallel positions at similar industry players clearly show, the position is primarily
science-based. If a venture capital firm or investment bank is going to invest
millions of dollars in a start-up biotech or pharmaceutical company, they will need
to know if the scientific data and technology are worthwhile and potentially
profitable. For this reason, these investment firms must hire scientists to evaluate
the target companies. The Biological Scientist, All Other category was correctly
chosen as the SOC classification.

The Government’s conflation of the Biotechnical Investment Analyst job
title with its Biological Scientist, All Other SOC classification either evidences a
startling lack of understanding of the labor condition application step in the H-1B
process or is a deliberate attempt to mischaracterize the evidence and ignore the
job title of Dr. Lim’s position at VVPA in order to fit their narrative.

iii. ©The Government Erred When it Edited and Ignored
VVPA’s Job Duties As Stated in the Original Filing
The Government argued in its March 12, 2019 denial that VVPA listed certain job
duties for the Biotechnical Investment Analyst position in its original H-1B filing
but then changed those duties in its response to the request for evidence. (SF 25 at
A.R. 433-434.) This is completely incorrect.
In VVPA’s original filing, Joanna Goh offered a detailed description of the

six primary job duties of Dr. Lim’s biotechnical investment analyst position:

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(1) Formulation of Investment Strategy (5% of time)

(2) Identification and Detailed Evaluation of Investment Opportunities
(30% of time)

(3) Negotiation of Terms for a New Investment and Exits (15% of time)

(4) Ongoing Support of Portfolio Companies (30% of time)

(5) Raising Money for VVPA and Portfolio Companies (10% of time)

(6) Managing Projects and Teams (10% of time)

(SF 19.)
In the Government’s Request for Further Evidence, it asked for “a detailed

statement to explain the beneficiary’s proposed duties and responsibilities; indicate
the percentage of time devoted to each duty; and state the educational requirements
for these duties.” (SF 20.) Although VVPA had previously provided all of this
information, the Government was asking for more detail; therefore, in response to
the Request for Further Evidence, VVPA provided a much more detailed

description of the same six job duties.
In Joanna Goh’s second letter dated October 5, 2018 (SF 22.), she expanded

on the previous description and provided much more detail as to each of the six job
duties — Dr. Lim’s overall process for completing each duty, which computer
programs he will use to complete these duties, and how his science-based PhD
training is necessary to complete each duty. (SF 22.)

In the Government’s attempt to support its conclusion that VVPA had
changed the job duties of the biotechnical investment analyst position, the denial
decision made several misstatements and mischaracterizations of the job duties
listed by Joanna Goh in her two letters.

The Government stated:

You initially described the principal duties of the position as follows:

e Negotiate international investments with particular focus on the

Biotechnology, Medical, and Educational Technology sectors;

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e Support key Biotech portfolio companies that develop drugs that
modulate the Wnt signaling pathway for a variety of different diseases;
e Use propriety (sic) drug delivery platform to formulate and develop
new products for skin care and disease treatments;
e Work with operating MDs to help raise funds for VVP to invest.
(SF 25 at A.R. 433.)

This is a careless and sloppy mischaracterization of the duties listed in
Joanna Goh’s original letter (SF 19.) The Government’s recounting of the job
duties completely ignores Dr. Lim’s primary duty to source and evaluate potential
investment targets in the biotechnology, deep tech and drug development.

As argued above, the Government’s first stated duty completely leaves out
the “source” and “evaluate” portion of the sentence, and only mentions the duty to
“negotiate international investments.”

The Government’s recounting states that Dr. Lim will “use propriety (sic)
drug delivery platform to formulate and develop new products for skin care and
disease treatments.” Dr. Lim was never to perform this job duty. He was to support
one of the portfolio companies, Sisaf and its mission. Sisaf uses a proprietary drug
delivery platform to formulate and develop new products for skin care and disease
treatments. “Dr. Lim’s expertise in skin biology and drug development enable him
to authoritatively advise and support Sisaf’s commercial efforts.” (SF 19.)

The fourth duty is partially correct but leaves out that “Dr. Lim will leverage
his scientific and applied business training to understand the
technology/science/product and synthesize it with other criteria to make a
compelling pitch to other investors.” (SF 22.)

The Government denial failed to acknowledge or possibly understand Dr.
Lim’s primary job duties. The denial failed to acknowledge that Dr. Lim will
conduct “research and due diligence to validate the investment hypothesis” as it

pertains to biotech, drug development and deep tech companies. (SF19.) It failed

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to acknowledge that Dr. Lim would provide “detailed analysis of the tech and
science” of the targeted invest company. (SF 19) It failed to acknowledge that Dr.
Lim would “prepare a company specific and thematic research report” to present to
the invest committee. (SF 19.) The denial failed to acknowledge that Dr. Lim
would “leverage his scientific and applied business training to understand the
technology/science/product and synthesize it with other criteria to make a
compelling pitch to other investors.” For all these reasons, the Government’s
denial must be regarded as offering an explanation for its decision that is counter to
the evidence presented.
iv. The Government Erred When It Edited and Manipulated
VVPA’s Stated Job Duties from Joanna Goh’s Second
Letter In Order to Conclude That VVPA Had Described a
Financial Analyst or Computer Systems Analyst Rather
than a Biotechnical Investment Analyst
The Government’s recounting of the job duties as stated in Joanna Goh’s
second letter is not just sloppy, it is dishonest and manipulative. The Government
chopped apart and edited sentences from Joanna Goh’s second letter in order to
purge all references to science. It also ignored entire sentences that fully explained
how the Biotechnical Investment Analyst position requires an advanced
understanding of science. Here is a list of the Government’s recounted job duties
along with a comparison to what was stated in Joanna Goh’s second letter:
“Analyze data spans technology and markets using engineering diagrams and
financial data;” (SF 25 at A.R. 433)
A review of the cover letter for the response to the request for further

evidence shows quite clearly how the government edited multiple sentences from

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Joanna Goh’s letter.” (SF 21 at A.R. 86.) The italics show the cherry-picked editing
of the USCIS officer. The original sentence read “These are the same methods that
Dr. Lim has also been using to analyses (sic) the state of the art in his scientific
research endeavors. The data spans technology and markets, and may include
biological experimental data, clinical trial data, engineering diagrams, and
financial data.” (SF 21 at A.R. 86.) (Emphasis added to show Government’s
editing.) This clearly shows that all science-related language was removed when
the Government recounted the supposed job duty.

“Interpret and Evaluate Financial Data;” (SF 25 at A.R. 433)

The italics show once again that the USCIS officer cherry-picked language
in a manipulative way. The original sentence stated “In order to understand such
technically complex data, Dr. Lim first uses his scientific training and content
knowledge to interpret the data, and subsequently his financial training to evaluate
the financial data.” (SF 21 at A.R. 86.) A review of the complete statement of job
duty one shows that Dr. Lim is repeatedly using his science-based Phd to perform
this duty.

“Use financial, technical and commercial training to do a detailed
evaluation of the commercial and technical competitive landscape, and
present this information in a graphic format;” (SF 25 at A.R. 434)

Here, the Government blatantly added the word “financial” to fit its
narrative that the position is more akin to a financial analyst. The original sentence
reads “Dr. Lim uses both his technical and commercial training to do a detailed

evaluation of the commercial and technical competitive landscape ....” (SF 21 at

AR. 87.)

 

? The job duties as listed in the cover letter were taken verbatim from Joanna Goh’s

second letter (AR 404-10); however, it is clear from the USCIS officer’s markings

that he/she was working from the cover letter.

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“Pre-identify nascent technical trends and promising technologies and
teams in order to select which companies to speak with;” (SF 25 at A.R. 433)

The original sentence stated Dr. Lim’s “scientific training and content
knowledge allows him to pre-identify nascent technical trends and promising
technologies and teams, in order to select which companies to speak with. His
credentials as an accomplished scientist and insightful investor are essential for
him to effectively and credibly interact with company founders who are highly
technically qualified.” (SF 21 at A.R. 86.) Here, VVPA did exactly what the
request for evidence asked of them. They set forth the job duty and tied it directly
to how his educational background would be used to perform it. As a scientist, Dr.
Lim would be able to discuss technical trends, technologies, and scientific data at a
very high level with the founders of biotech start-ups. Once again, the Government
edited Joanna Goh’s statements in a way to purge all references to science and Dr.

Lim’s Phd.

“Perform background literature searches and note observations in

note-taking software;” (SF 25 at A.R. 434)

This is another example of the Government ignoring VVPA’s explanation of
how Dr. Lim will use his PhD in science to perform the job duty. The original
sentence stated “Dr. Lim will also perform background literature searches in
academic and industry databases using internet browser software, and will note
these observations ... using. . . note-taking software. The ability to understand
and evaluate the data and background literature requires Dr. Lim’s PhD scientific
training and content knowledge.” (SF 21 at A.R. 87.) The full statement makes
clear that Dr. Lim is not just reviewing easily digested financial information. He is
assessing the state of the art by reviewing industry competitors and what other
scientists in this space have discovered.

v. The Government Erred When It Ignored Very Obvious
Science-Based Job Duties and Concluded that the Biotechnical

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Investment Analyst Position Was More Akin to a Financial
Analyst or Computer Systems Analyst

In the March 12, 2019 denial, the Government stated several job duties
pulled verbatim from Joanna Goh’s second letter; however, the Government
completely ignores them or understates the need for an advanced science-based
education in order to perform them.

“Evaluate the technical aspects of companies’ technologies and assess
the scientific or engineering data provided and run the data through statistical
software;” (SF 25 at A.R. 434)

This quote was pulled almost verbatim from Joanna Goh’s letter. It is
striking however that the Government would acknowledge this as a job duty and
still regard the position as akin to a financial analyst or computer systems analyst.
This duty cannot be performed by either a financial or computer systems analyst.
This job duty, especially considering that we are talking about biotech companies
or drug development companies, requires the individual evaluating the technical
aspects and scientific data to have a firm and strong understanding of the science
involved. A financial analyst, while well-suited to assess a real estate portfolio, is
not qualified to assess the science that is the foundation of these start-up biotech
companies, especially considering the venture capital firm is considering multi-
million dollar investments.

“Kvaluate the patent protection of technology or product conducted in
patent databases” (SF 25 at A.R. 434)

The Government ignored the next sentence “Most of these patents are highly
technical in nature, and Dr. Lim draws on his scientific training and content
knowledge, as well as his commercial experience to evaluate these patents and
consider their defensibility in the context of the competitive landscape and
historical practices in the biotech and tech markets.” (SF 21 at A.R. 88.) A

financial analyst or computer systems analyst could not possibly perform the duty

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of analyzing patents and assessing their defensibility. One must have a science-
based education to complete this highly technical task. In order to practice as a
patent attorney and litigate intellectual property disputes, most IP law firms require
that an attorney have a Bachelor’s Degree in Science. If the biotechnical
investment analyst is assessing the defensibility of such patents, why would the
Government expect that a Financial Analyst or Computer Systems Analyst would
be able to perform this task?

“Asses (sic) risks associated with a company’s business plan, including a
detailed analysis of the tech and science, company’s product development and
financing plans” (SF 25 at A.R. 434.)

The full sentence stated that Dr. Lim was expected to prepare a
“comprehensive Investment Memo” on the potential investment target company
and pointed out that examples of this work product were attached. (SF 21 at A.R.
88.) This duty goes to the heart of what Dr. Lim is being asked to do as a
Biotechnical Investment Analyst. A review of his work product shows clearly that
the preparer of the comprehensive investment memo must have a firm
understanding of the science and technology upon which the potential investment
target company is founded. (SF 23,24.)

“Monitor the technical and commercial state of the art using industry
databases and commercial analyses conducted using quantitative models” (SF
25 at A.R. 434.

When considering that the industry being analyzed is biotechnical, drug
development and other highly technical scientific fields, the individual being asked
to monitor the “technical and commercial state of the art” must have a firm
understanding of the science involved. This is a highly technical job duty and Dr.

Lim uses his PhD in Developmental Biology to constantly stay up to date on new

developments by industry competitors.

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D. The Government’s Failure to Consider All the Evidence and
Manipulative Misrepresentation of The Job Duties Shows that
Defendants “Offered an Explanation for Its Decision that Is
Counter to the Evidence.”

“In order for an agency decision to be upheld under the arbitrary and
capricious standard, a court must find that evidence before the agency provided a
rational and ample basis for its decision.” Nw. Motorcycle Ass’n v. Dep’t of
Agriculture, 18 F.3d 1468, 1471 (9" Cir. 1994). If the Government “offered an
explanation for its decision that is counter to the evidence presented,” the District
Court should vacate the decision. Friends of Santa Clara Rive v. U.S. Army Corps
of Engineers, 887 F.3d 906, 920 (9" Cir. 2018). “[T]he function of the district
court is to determine whether or not as a matter of law the evidence in the
administrative record permitted the agency to make the decision it did. ”
Occidental Eng’g Co. v. L.N.S., 753 F.2d 766, 769 (9" Cir. 1985).

In this case, the Government completely ignored vast amounts of evidence
tending to show that Dr. Lim’s Biotechnical Investment Analyst position is a
specialty occupation that requires a theoretical and practical application of a body
of highly specialized knowledge and the attainment of a bachelor’s degree in a
specific specialty is a minimum for entry into the occupation.

Several examples of Dr. Lim’s work product were provided to USCIS in
response to their request for further evidence. The comprehensive investment
memos clearly show that the evaluation performed by Dr. Lim was scientific in
nature. (SF 23, 24.) He is explaining why the scientific data for the company is
promising and should be pursued by the investment committee, but the
Government failed to consider this evidence.

The twelve job postings for parallel positions at industry competitors clearly
showed that other venture capital firms and investment banks operating in the

biotech, life sciences and drug development industry normally require PhD level

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scientists to perform the job of sourcing and evaluating potential investment
opportunities, but the Government failed to consider this evidence. (SF 26.)

The only evidence the Government considered was Joanna Goh’s two letters
stating the job duties of the biotechnical investment analyst, but even here, the
Government used sloppy and manipulative editing to mischaracterize Ms. Goh’s
statements. The government ignored and purged references to science and how Dr.
Lim must use his scientific training to perform his job duties.

Ultimately, the Government concludes that the job duties are more akin to a
financial analyst or computer systems analyst. Then, having created this alternate
universe, the Government goes on to argue that Dr. Lim does not have the
educational background to be a financial analyst or computer systems analyst. The
Government’s conclusion and explanation is counter to the evidence presented.

Under the Ninth Circuit’s standard of review for an APA case, the
Government’s decision must be classified as arbitrary, capricious, and an abuse of

discretion.

IV. CONCLUSION
Based on the foregoing, Plaintiff VVP Advisors, Inc. respectfully ask this

Court to (a) grant its motion for summary judgment: (b) set aside the
Government’s March 12, 2019 final agency decision as not in compliance with the
APA; and (c) order the Government to issue Dr. Lim the H-1B visa Plaintiff
applied for back in April 2018 within ten days of the Court’s order.

DATED: November 13, 2019 NELSON & NUNEZ, P.C,

Dvd

JAY I. NUNEZ, , Attorri bey for PLAINTIFF,
VVP Advisors, —

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